Case 2:05-CV-02179-BBD-tmp Document 19 Filed 06/01/05 Page 1 of 2 Page|D 12
IN THE UNITED STATES DISTRICT COURT

FoR THE wESTERN DIVISION OF TENNESSEE F,LED E.Y, u\§v mt
WESTERN DIVISION …~

 

CABOODLES COSMETICS, LIMITED
PARTNERSHIP, a Nevada limited
partnership, and HHS, LlMITED
PARTNERSH[P, a Nevada limited
partnership,

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CLERK, l}.S. DIST, CT.
W.D. OF TN, le!lEMFHlS

Plaintiffs,
v. NO: 05-2179-DP
CABOODLES, LLC, a Delaware limited
company, and GLIMPSO, LLC,

 

Defendants.
CABOODLES, LLC, a Delaware limited
company,

Counter-Plaintiff,
V.

CABOODLES COSMETICS, LIMITED
PARTNERSHIP, a Nevada limited
partnership, HSS, LIMITED
PARTNERSHIP, a Nevada limited
partnership, ANDREW MANN, and PETER
HENNING,

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Counter-Defendants.

 

ORDER ADMITTING COUNSEL PRO HAC VICE

 

Upon Robert L. Crawford’s Motion for Admission Pro Hac Vz'ce of Craig M. White filed
herein,

IT IS ORDERED, ADJUDGED AND DECREED by the Court that:

Craig M. White, a member in good standing of the bar of the State of lllinois and the

United States District Court for the Northern District of Illinois, is hereby admitted pro hac vice

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TED sTA ES DI§TRICT IUDGlE

ENTERED THISZ/ ‘”day omeL, 2005.
T‘.-is d cument entered on the docket §eet 'm §ompiiance

with Hu!e 58 and/or 79(3) FHCP on '

in this action pursuant to Local Rule 83.] (b).

 
  

/El.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02l79 Was distributed by faX, mail, or direct printing on
.lune 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

